            Case 2:20-cv-00424-JHC          Document 276        Filed 02/21/25      Page 1 of 5




 1

 2

 3

 4

 5

 6

 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9
     DEBORAH FRAME-WILSON, et al., on behalf                Case No. 2:20-cv-00424-JHC
10
     of themselves and all others similarly situated,
11                                                          STIPULATED MOTION AND ORDER
                         Plaintiffs,                        OF DISMISSAL AS TO THE CLAIMS
12                                                          OF PLAINTIFFS ARRINGTON,
            v.                                              DUTILL, GEESEY, HOLLY-TAYLOR,
13                                                          MURPHY, RUSSELL, AND
     AMAZON.COM, INC., a Delaware corporation,              WESTROPE, PURSUANT TO FEDERAL
14
                                                            RULE OF CIVIL PROCEDURE
15                      Defendant.                          41(a)(1)(A)(ii)

16

17          Plaintiffs Sarah Arrington, Stacy Dutill, Heather Geesey, Sheryl Holly-Taylor, Gail
18
     Murphy, Samanthia Russell and Defendant Amazon.com, Inc., hereby stipulate to the dismissal
19
     of Plaintiffs Sarah Arrington, Stacy Dutill, Heather Geesey, Sheryl Holly-Taylor, Gail Murphy,
20
     and Samanthia Russell’s claims against Amazon.com, Inc. in this action pursuant to Rule
21
     41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure. While these Plaintiffs are withdrawing
22

23 from this litigation as named plaintiffs, they retain the rights to any recovery in the above-

24 captioned action as absent class members. In the interests of clarity, this stipulated motion and

25 proposed order also seeks dismissal of the claims of Dave Westrope, (deceased, ECF 155),

26
     against Amazon.com, Inc. See, e.g., Rule 25(a) of the Federal Rules of Civil Procedure. This
27
     dismissal does not impact the claims of any other Plaintiff.
28
     STIP. AND ORDER OF DISMASSAL AS TO ARRINGTON,
     DUTILL, GEESEY, HOLLY-TAYLOR, MURPHY, RUSSELL AND WESTROPE - 1
     CASE NO. 2:20-CV-00424-JHC
          Case 2:20-cv-00424-JHC      Document 276      Filed 02/21/25      Page 2 of 5




 1         IT IS SO STIPULATED.

 2         DATED: February 21, 2025        HAGENS BERMAN SOBOL SHAPIRO LLP

 3
                                           By: /s/ Steve W. Berman
 4                                             Steve W. Berman (WSBA No. 12536)
 5                                         By: /s/ Barbara A. Mahoney
                                               Barbara A. Mahoney (WSBA No. 31845)
 6                                         1301 Second Avenue, Suite 2000
                                           Seattle, WA 98101
 7                                         Telephone: (206) 623-7292
                                           Facsimile: (206) 623-0594
 8
                                           E-mail: steve@hbsslaw.com
 9                                         E-mail: barbaram@hbsslaw.com

10                                         Anne F. Johnson (pro hac vice)
                                           594 Dean Street, Suite 24
11                                         Brooklyn, NY 11238
                                           Telephone: (718) 916-3520
12                                         E-mail: annej@hbsslaw.com
13
                                           KELLER POSTMAN LLC
14
                                           Zina G. Bash (pro hac vice)
15                                         111 Congress Avenue, Suite 500
                                           Austin, TX, 78701
16                                         Telephone: (512) 690-0990
17                                         E-mail: zina.bash@kellerpostman.com

18                                         Jessica Beringer (pro hac vice)
                                           Shane Kelly (pro hac vice)
19                                         150 North Riverside Plaza, Suite 4100
                                           Chicago, Illinois 60606
20
                                           Telephone: (312) 741-5220
21                                         E-mail: jessica.beringer@kellerpostman.com
                                           E-mail: shane.kelly@kellerpostman.com
22
                                           Roseann Romano (pro hac vice)
23                                         1101 Connecticut Avenue, N.W., Suite 1100
                                           Washington, DC 20036
24
                                           Telephone: (202) 983-5484
25                                         E-mail: roseann.romano@kellerpostman.com

26                                         Interim Co-Lead Counsel for Plaintiffs and the
                                           proposed Class
27                                         QUINN EMANUEL URQUHART &
                                           SULLIVAN, LLP
28
     STIP. AND ORDER OF DISMASSAL AS TO ARRINGTON,
     DUTILL, GEESEY, HOLLY-TAYLOR, MURPHY, RUSSELL AND WESTROPE - 2
     CASE NO. 2:20-CV-00424-JHC
          Case 2:20-cv-00424-JHC     Document 276       Filed 02/21/25     Page 3 of 5




 1
                                           By: /s/ Alicia Cobb
 2                                            Alicia Cobb, WSBA # 48685
                                           1109 First Avenue, Suite 210
 3                                         Seattle, WA 98101
                                           Telephone: (206) 905-7000
 4                                         Email: aliciacobb@quinnemanuel.com
 5
                                           Steig D. Olson (pro hac vice)
 6                                         David D. LeRay (pro hac vice)
                                           Nic V. Siebert (pro hac vice)
 7                                         Maxwell P. Deabler-Meadows (pro hac vice)
                                           Elle Mahdavi (pro hac vice)
 8
                                           295 5th Avenue, 9th Floor
 9                                         New York, NY 10016
                                           Telephone: (212) 849-7000
10                                         Email: steigolson@quinnemanuel.com
                                           Email: davidleray@quinnemanuel.com
11                                         Email: nicolassiebert@quinnemanuel.com
                                           Email: maxmeadows@quinnemanuel.com
12
                                           Email: ellemahdavi@quinnemanuel.com
13
                                           Aseem Chipalkatti (pro hac vice)
14                                         1300 I Street, Suite 900
                                           Washington, D.C. 20005
15                                         Telephone: (202) 538-8000
                                           Email: aseemchipalkatti@quinnemanuel.com
16

17                                         Adam B. Wolfson (pro hac vice)
                                           865 South Figueroa Street, 10th Floor
18                                         Los Angeles, CA 90017-2543
                                           Telephone: (213) 443-3000
19                                         Email: adamwolfson@quinnemanuel.com
20
                                           Interim Executive Committee for Plaintiffs and the
21                                         proposed Class

22
                                           DAVIS WRIGHT TREMAINE LLP
23

24                                         By:     /s/ John A. Goldmark
                                               John A. Goldmark, WSBA #40980
25                                         MaryAnn Almeida, WSBA #49086
26                                         920 Fifth Avenue, Suite 3300
                                           Seattle, WA 98104-1610
27                                         Telephone: (206) 622-3150
                                           Email: JohnGoldmark@dwt.com
28                                         Email: MaryAnnAlmeida@dwt.com
     STIP. AND ORDER OF DISMASSAL AS TO ARRINGTON,
     DUTILL, GEESEY, HOLLY-TAYLOR, MURPHY, RUSSELL AND WESTROPE - 3
     CASE NO. 2:20-CV-00424-JHC
          Case 2:20-cv-00424-JHC     Document 276      Filed 02/21/25     Page 4 of 5




 1
                                           PAUL, WEISS, RIFKIND, WHARTON &
 2                                         GARRISON LLP

 3                                         Karen L. Dunn (pro hac vice)
                                           William A. Isaacson (pro hac vice)
 4                                         Amy J. Mauser (pro hac vice)
 5                                         Kyle Smith (pro hac vice)
                                           2001 K Street, NW
 6                                         Washington, D.C. 20006-1047
                                           Telephone: (202) 223-7300
 7                                         Email: kdunn@paulweiss.com
                                           Email: wisaacson@paulweiss.com
 8
                                           Email: amauser@paulweiss.com
 9                                         Email: ksmith@paulweiss.com

10                                         Meredith Dearborn (pro hac vice)
                                           535 Mission Street, 24th Floor
11                                         San Francisco, CA 94105
                                           Telephone: (628) 432-5100
12
                                           Email: mdearborn@paulweiss.com
13
                                           Attorneys for Defendant Amazon.com, Inc.
14

15

16

17

18
19

20

21

22

23

24

25

26

27

28
     STIP. AND ORDER OF DISMASSAL AS TO ARRINGTON,
     DUTILL, GEESEY, HOLLY-TAYLOR, MURPHY, RUSSELL AND WESTROPE - 4
     CASE NO. 2:20-CV-00424-JHC
          Case 2:20-cv-00424-JHC       Document 276     Filed 02/21/25   Page 5 of 5




 1                                          ORDER
           Pursuant to stipulation, IT IS SO ORDERED.
 2

 3

 4 Dated: February 21, 2025.
                                                    John H. Chun
 5                                                  UNITED STATES DISTRICT JUDGE
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28
     STIP. AND ORDER OF DISMASSAL AS TO ARRINGTON,
     DUTILL, GEESEY, HOLLY-TAYLOR, MURPHY, RUSSELL AND WESTROPE - 5
     CASE NO. 2:20-CV-00424-JHC
